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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

MARVEL CHARACTERS, INC.,
Plaintiff,
V.
LAWRENCE D. LIEBER,

Defendant.

LAWRENCE D. LIEBER,
Counterclaimant,
Vv.

MARVEL CHARACTERS, INC,, and DOES
1-10, inclusive,

Counterclaim-Defendants.

MARVEL CHARACTERS, INC.,
Plaintiff,
Vv.
PATRICK. 8. DITKO, in his capacity as
biter of the Estate of Stephen J.

Defendant.

PATRICK 8. DITKO, in his capacity as
Administrator of the Estate of Stephen J.
Ditko,

Counterclaimant,

Vv.

MARVEL CHARACTERS, INC. and DOES
1-10, meclusive,

Counterclaim-Defendants.

Case No,: 1:21-cv-7955-LAK
and consolidated cases
21-cv-7957-LAK and 21-cv-7959-LAE.

JOINT STIPULATION AND
[PROPRGSED] ORDER REGARDING
PRETRIAL SCHEDULE

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MARVEL CHARACTERS, INC.,
Plaintiff,
Vv.

KEITH A. DETTWILER, in his capacity as
Executor of the Estate of Donald L. Heck, |

Defendant.

KEITH A. DETTWILER, in his capacity as
Executor of the Estate of Donald L. Heck

Counterclamant,
Vv.

MARVEL CHARACTERS, INC, and DOES
1-10, inclusive,

Counterclaim-Defendants.

STIPULATION

Plaintiff and Counterclaim-Defendant Marvel Characters, Inc. (“Marvel”) and
Defendants and Counterclaimants Lawrence D. Lieber, Patrick 8. Ditko, and Keith A. Dettwiler
(collectively, the Parties”) stipulate as follows:

WHEREAS, the Court issued the Third Amended Scheduling Order for the above three
referenced cases (which have been consolidated for pretrial purposes) such that motions for
summary judement are due on or before April 7, 2023.!

WHEREAS, the Parties all intend te file cross motions for summary judgment;

WHEREAS, Defendants-Counterclaimants’ counsel, Mare Toberoff must undergo two
important medical surgeries between today’s date and April 7, 2023, which will severely limit
his ability to work on Defendants-Counterclaimants’ summary judgment motion due April 7,

2023;

! See Order (ECF No. 51), Marvel Characters, Inc. v. Lieber, No. 1:21-cv-07955-LAK
(S.D.N.Y.); Order (ECF No. 46), Marvel Characters, Inc. v. Ditko, No. 1:21-cv-07957-LAK
(S.D.N.Y.); Order (ECF No. 49), Marvel Characters, Inc. v. Dettwiler, No. 1:21-cv-07959-LAK
(S.D.N.Y.).
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WHEREAS, Defendants-Counterclaimants have asked Marvel to agree to a four-week
extension of the deadline to file motions for summary judgment in light of Mr. Toberoff’s
forthcoming medical surgeries;

WHEREAS, Marvel has advised Defendants-Counterclaimants that it agrees to the
requested extension subject to approval of the Court;

WHEREAS, to the extent that the deadline for motions for summary judgment is
extended, the Parties agree that an extension of the joint pretrial submissions is also warranted;
and

WHEREAS, recognizing that the Third Scheduling Order states that no further
extensions will be permitted, these modifications will not meaningfully delay the overall
progress of the case and may actually increase the efficient progression of the case.

Based on the foregoing, IT IS HEREBY STIPULATED by and between the Parties,

through their respective counsel of record, subject to the Court’s approval, that:

1, The deadline to submit motions for summary judgment shall be continued to May
5, 2023.

2. The deadline to submit the joint pretrial order shall be continued to August 29,
2023.7

2 The Parties selected this date as it would align the submission of the joint pretrial order in this
case with the deadline for similar submissions in the related pending matter in the Central
District of California. Marvel Characters, Inc. v. Rico, No. 2:21-cv-07624-DMG-KES.

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Dated: March 16, 2023

Dated: March 16, 2023

f :
SO ORDERED

O’MELVENY & MYERS LLP

By: /s/ Daniel M. Petrocelli

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